                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

    ELECTRIC INSURANCE COMPANY, )
                                )
         Plaintiff,             )
                                )
    v.                          )                        Civil Action No. 1:11-cv-261
                                )
    DAVID A. MICHEL and         )                        Hon. Curtis L. Collier
    CHECK INTO CASH, INC.,      )                        Hon. William B. Carter
                                )
         Defendants.            )



                               AGREED ORDER OF DISMISSAL


           The parties have announced to the Court that all claims and matters herein have

    been fully and finally resolved by compromise and settlement following mediation. By

    the signatures of counsel of record for the parties below, approving this Agreed Order of

    Dismissal for Entry, the parties have requested that the Court dismiss this case and all

    claims and matters herein, with. It is therefore

           ORDERED that this case and all claims herein are dismissed, with prejudice.

    Pursuant to the agreement of the parties, no party shall submit a request for the taxation

    of any costs in this cause. This is a final order.

                                           /s/_____________________________________
                                           CURTIS L. COLLIER
                                           CHIEF UNITED STATES DISTRICT JUDGE




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    ORDER SUBMITTED AND APPROVED FOR ENTRY JOINTLY BY:

    BOYLE BRASHER, LLC                 LAW OFFICE OF BOB E. LYPE
                                       & ASSOCIATES

    By:   /s/ S. Camille Reifers       By:   /s/ Bob E. Lype
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          /s/ Rodrick D. Holmes
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